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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAI‘I

STEPHEN BROOM,                           CIVIL NO. CV 18-00358 JMS-RT

            Plaintiff                    CERTIFICATE OF SERVICE

      vs.

MYDATT SERVICES, INC.; dba
BLOCK BY BLOCK; SMS HOLDINGS
COMPANY; BLOCK BY BLOCK,
JOHN DOES 1-5; JANE DOES 1-5;
DOE CORPORATIONS 1-5; DOE
LLCS 1-5; DOE PARTNERSHIPS 1-5;
DOE NON-PROFIT
ORGANIZATIONS 1-5; and DOE
GOVERNMENTAL AGENCIES 1-5,

            Defendants.



                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing

document was duly served upon the following parties on this date electronically

through CM/ECF addressed as follows:


      CHARLES H. BROWER                   Email: honlaw@lava.net
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            and
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             Attorneys for Plaintiff
             STEPHEN BROOM

        DATED:        Honolulu, Hawai‘i; March 25, 2019.

                                         /s/ Frederick W. Rohlfing III
                                         LISSA H. ANDREWS
                                         FREDERICK W. ROHLFING III
                                         Attorneys for Defendants
                                         MYDATT SERVICES, INC., dba
                                         BLOCK BY BLOCK, SMS HOLDINGS
                                         COMPANY, and BLOCK BY BLOCK




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